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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

MICHAEL MASCHMEIER,

                       Plaintiff,

vs.                                       Case No.   2:06-cv-426-FtM-29DNF

SHERIFF MICHAEL SCOTT,

                    Defendant.
___________________________________


                            OPINION AND ORDER

      This matter comes before the Court on Defendant’s Motion for

Summary Judgment (Doc. #18) filed on April 27, 2007.                 Plaintiff

filed a Memorandum of Law in Opposition to Defendant’s Motion for

Summary Judgment (Doc. #31) on June 4, 2007.               Both parties filed

depositions in support of their respective positions.             Also before

the Court is Defendant’s Unopposed Motion to Strike Partington’s

Affidavit (Doc. #34) filed on June 14, 2007.

                                     I.

      Summary   judgment   is   appropriate     only   when    the   Court   is

satisfied that "there is no genuine issue as to any material fact

and that the moving party is entitled to judgment as a matter of

law."    Fed. R. Civ. P. 56(c).      An issue is "genuine" if there is

sufficient evidence such that a reasonable jury could return a

verdict for either party.        Anderson v. Liberty Lobby, Inc., 477

U.S. 242, 248 (1986).      A fact is "material" if it may affect the

outcome of the suit under governing law.             Id.    The moving party
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bears the burden of identifying those portions of the pleadings,

depositions,     answers     to     interrogatories,    admissions,   and/or

affidavits which it believes demonstrate the absence of a genuine

issue of material fact.           Celotex Corp. v. Catrett, 477 U.S. 317,

323 (1986); Hickson Corp. v. Northern Crossarm Co., Inc., 357 F.3d

1256, 1259-60 (11th Cir. 2004).

      To avoid the entry of summary judgment, a party faced with a

properly supported summary judgment motion must come forward with

extrinsic   evidence,      i.e.,    affidavits,   depositions,   answers   to

interrogatories,     and/or       admissions,   which   are   sufficient   to

establish the existence of the essential elements to that party's

case, and the elements on which that party will bear the burden of

proof at trial.    Celotex Corp., 477 U.S. at 322; Hilburn v. Murata

Elecs. N. Am., Inc., 181 F.3d 1220, 1225 (11th Cir. 1999).                 In

ruling on a motion for summary judgment, if there is a conflict in

the evidence, the non-moving party's evidence is to be believed and

all reasonable inferences must be drawn in favor of the non-moving

party.    Shotz v. City of Plantation, Fla., 344 F.3d 1161, 1164

(11th Cir. 2003).

                                       II.

      Viewed in the light most favorable to the plaintiff, the facts

are: plaintiff Michael Maschmeier (plaintiff or Maschmeier), a

former Deputy Sheriff with the Lee County Sheriff's Office (LCSO)

asserts that his employment was terminated in violation of his

First Amendment rights of free speech and freedom of association /
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political patronage.         (Doc. #4.)    Plaintiff's termination stems

from his support of Sheriff Scott's opponent Rod Shoap during the

2004 election and the filing of a complaint with the Election

Commission against Sheriff Scott. Defendant asserts that plaintiff

was terminated for violating the LCSO's computer policy while on

disciplinary probation. (Doc. #18, pp. 2-3.) Additional facts are

set forth below as needed.

                                    III.

      Section 1983 imposes liability on any person who, under color

of state law, deprives a person "of any rights, privileges, or

immunities secured by the Constitution and laws."           To establish a

claim under § 1983, plaintiff must allege and prove that (1)

defendant deprived him of a right secured under the Constitution or

federal law1, and (2) such deprivation occurred under color of

state law. Focus on the Family v. Pinellas Suncoast Transit Auth.,

344 F.3d 1263,1277 (11th Cir. 2003); U.S. Steel, LLC v. Tieco,

Inc., 261 F.3d 1275, 1288 (11th Cir. 2001).           Plaintiff also must

allege   and   prove    an    affirmative    causal   connection    between

defendant's conduct and the constitutional deprivation.            Marsh v.

Butler County, Ala., 268 F.3d 1014, 1059 (11th Cir. 2001) (en

banc); Swint v. City of Wadley, Ala., 51 F.3d 988, 999 (11th Cir.

1995).

      Under § 1983, a local government may not be held liable under

a theory of respondeat superior, but instead may only be held



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liable for the execution of an official governmental policy or

custom.    Quinn v. Monroe County, 330 F.3d 1320, 1325 (11th Cir.

2003)(citing Monell v. Dep't of Soc. Servs., 436 U.S. 658 (1978)).

Only government officers or groups who have final policymaking

authority may subject the government entity to a § 1983 claim.

Campbell v. Rainbow City, Ala., 434 F.3d 1306, 1312 (11th Cir.

2006).

                                      IV.

      The Sheriff seeks summary judgment on four separate grounds:

(1) the Sheriff is not the final policymaker for purposes of a §

1983 claim; (2) Count I for political retaliation fails to state a

claim; (3) the Pickering v. Board of Educ., 391 U.S. 563 (1968)

balancing test favors the Sheriff; and (4) there is no issue of

material fact regarding causation. The Court need only discuss the

first and second arguments.

                                      A.

      It has long been the rule that under § 1983 a local government

entity may only be held liable for the execution of an official

governmental policy or custom promulgated by someone with final

policymaking authority.        Campbell, 434 F.3d at 1312; Quinn, 330

F.3d at 1325.     The decision maker is not always the same as the

final policymaker because "final policymaking authority over a

particular    subject   area   does    not   vest   in   an   official   whose

decisions in the area are subject to meaningful administrative


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review."   Quinn, 330 F.3d at 1325 (citations omitted).         Meaningful

administrative review has been found where there was review by a

Career Service Council with the authority to order reinstatement or

otherwise amend, alter, sustain or reverse the decision of the

employer, Quinn, 330 F.3d at 1326, and where there was review by a

Civil Service Board with power to reverse the termination decision.

Scala v. City of Winter Park, 116 F.3d 1396, 1401-03 (11th Cir.

1997).

      In this case, it is clear that the Sheriff was not the final

policymaker.     The Civil Service Board had the legal authority to

review and reverse the Sheriff's termination decision, and its

decision is binding on the Sheriff.           See Fla. Laws Ch. 99-434, §

13(2).     This fact precludes the Sheriff from being the final

policymaker.1

      Plaintiff seeks to avoid this result.         Plaintiff first argues

that the final policymaker issue had to have been raised as an

affirmative defense, and the Sheriff's failure to do so precludes

him from raising the matter in a summary judgment motion.             {Doc.

#31, p. 4.)    The Court disagrees.        It has long been the law that in

order to impose liability upon the government entity plaintiff has

to establish that defendant was the final policymaker.                Manor

Healthcare Corp. v. Lomelo, 929 F.2d 633, 636-37 (11th Cir. 1991);

      1
      Although not controlling, the Court notes that plaintiff's
counsel stipulated that the Civil Service Board was the final
policy maker and not Sheriff Scott in the case of Partington v.
Scott, No.: 2:06-cv-310-FtM-29DNF, cited by plaintiff.
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see also Templeton v. Bessemer Water Serv., 154 Fed. Appx. 759, 765

(11th Cir. 2005)(plaintiff must prove that defendant was final

policymaker to establish a 1983 claim).                      This is an element of the

cause   of    action         against   a    local      government      to     be     proven    by

plaintiff; the lack of such proof is not an affirmative defense.

Plaintiff next argues that the Civil Service Board is merely a

"rubber stamp" for the Sheriff, and in the last ten years or so

"the    Civil       Service       Board    has       never    overturned        a    Sheriff's

termination         of   a    subordinate        employee."        (Doc.        #31,    p.    4.)

Plaintiff has cited no § 1983 case from the Eleventh Circuit which

recognizes      a    "rubber       stamp"    exception        to   the   rule        where    the

decision maker is subject to administrative review with the legal

authority to change the outcome.                     The Court will assume that such

an exception does exist, however, because the Eleventh Circuit has

adopted such a rule in the similar context of Title VII employment

discrimination cases.              Stimpson v. City of Tuscaloosa, 186 F.3d

1328, 1332 (11th Cir. 1999).

       Plaintiff's problem is that he points to no evidence in the

record supporting the allegation that "the Civil Service Board has

never    overturned           a   Sheriff's       termination       of      a       subordinate

employee."      On the contrary, the Chairman of the Civil Service

Board, testified at his deposition, taken by plaintiff, that the

Board had overturned the sheriff's decision on one occasion in

2006.    (Clifton Dep., p. 15.)                  Furthermore, plaintiff was aware

that    the   Civil      Service       Board     has    the    power     to     reinstate      a

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terminated employee.2      Further, plaintiff points to no deficiency

in the Civil Service appeal process, and does not claim that the

Civil Service Board ratified the unconstitutional basis of the

termination decision. The Court concludes that the Sheriff was not

the final policymaker for § 1983 purposes.             Therefore, summary

judgment in favor of defendant is appropriate as to the § 1983

claims.

                                     B.

      Defendant also argues that Count I of the Amended Complaint

fails to state a claim for “Retaliation for Political Activities.”

(Doc. #18, p. 2.)     Defendant argues that the Eleventh Circuit has

“held that a sheriff may hire and fire deputy sheriffs based upon

the employees’ political patronage.”        (Doc. #19, p. 6.)

      Plaintiff counters that “defendant’s reliance on Terry v.

Cook, 866 F.2d 373 (11th Cir. 1989) and Cutcliffe v. Cochran, 117

F.2d 1353 (11th Cir. 1997) is misplaced.”          Plaintiff asserts that

the Terry Court was relying on Alabama law and that both Terry and

Cutcliffe recognize that political affiliation is not a per se

legitimate reason for termination. (Doc. #31, p. 9.) Furthermore,

plaintiff asserts that the Eleventh Circuit likely only declined to




      2
      During Maschmeier’s deposition, he was asked whether he was
aware “of any instance in which a deputy has prevailed before the
Board?” to which Maschmeier responded "I wasn't there, I don't
know. I heard that [Tim Hetz] did." (Maschmeier pp. 117-8.)
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a rehearing en banc in Cutcliffe because of “the then-recent

enactment of Florida Statute § 30.078.”3              (Doc. #31, p. 10.)

      A political patronage case is one where employment decisions

is made based on political affiliation.             Elrod v. Burns, 427 U.S.

347, 353 (1976).          The Supreme Court has stated that the relevant

inquiry     to    determine    whether     employment    decisions    based   on

political affiliation pass constitutional muster is “whether the

hiring authority can demonstrate that party affiliation is an

appropriate requirement for the effective performance of the public

office involved.”         Branti v. Finkel, 445 U.S. 507, 518 (1979).

      The Eleventh Circuit applied the Elrod-Branti test in Terry,

holding that a sheriff did not violate the First Amendment rights

of deputy sheriffs when he discharged them for not supporting his

election.        The Eleventh Circuit reasoned that the “closeness and

cooperation        required    between     sheriffs     and   their    deputies

necessitates        the    sheriff's     absolute     authority   over     their

appointment and/or retention.”             Terry, 866 F.2d at 377.         While

plaintiff is correct that Terry was based on Alabama law, the

Eleventh Circuit reiterated that sentiment in Cutcliffe v. Cochran,


      3
          FLA . STAT § 30.078 provides:

      When a newly elected or appointed sheriff assumes office,
      the incoming sheriff may not terminate the employment of
      any deputy sheriff covered by ss. 30.071-30.079 for
      lawful   off-duty    political   activity    or   for   a
      discriminatory reason. The incoming sheriff may replace
      deputy sheriffs assigned to managerial, confidential, or
      policymaking positions or part-time deputy sheriffs.
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117 F.3d 1353, which was based on Florida law.             In Cutcliffe, the

Court found that Terry was controlling and affirmed the district

court’s grant of summary judgment for a Florida Sheriff who had

selectively terminated certain deputies who had supported his

opponent during the elections.        Id. at 1357.

      Plaintiff’s argument that the likely primary reason that the

Eleventh   Circuit    declined   to    grant    an   en   banc   rehearing   in

Cutcliffe is because of the then recent enactment of FLA . STAT . §

30.078 is unlikely.      In a case decided six years after Cutcliffe

and based on Florida law, the Eleventh Circuit reiterated its

position that:

      personal loyalty to the sheriff is an appropriate
      requirement for the effective performance of a deputy
      sheriff.   And if a sheriff may hire and fire deputy
      sheriffs on the employees’ political patronage, we
      conclude a sheriff may promote and demote on this basis
      also.

Silva v. Bieluch, 351 F.3d 1045, 1047 (11th Cir. 2003).            Therefore,

the Court finds that this line of precedent precludes plaintiff’s

claim for political retaliation.

      In his response to the Motion for Summary Judgment, plaintiff

also argues that the termination was based on political speech

under Count I.    (Doc. #31, p. 8.)         If that is the case, this Court

would apply the expressive conduct analysis as set by the Supreme

Court in Pickering v. Board of Educ., 391 U.S. 563 (1968).             Courts

routinely apply the Pickering balancing test when public employees

claim to have been fired or demoted in retaliation for exercising


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their free speech rights.       See Cook v. Gwinnett County Sch. Dist.,

414 F.3d 1313, 1318 (11th Cir. 2005).               The balance requires

determining whether the public employee’s interest in exercising a

constitutional right outweighs the interests of the state.            Id. at

1320.

      Pickering would only apply in this case if the record showed

that the plaintiff’s expression involved more than bare statements

of support for a candidate.       See Cutcliffe, 117 F.3d at 1358.       For

example, the Eleventh Circuit applied the Pickering analysis in

Stough v. Gallagher, 967 F.2d 1523 (11th Cir. 1992), where a deputy

sheriff was demoted after making several speeches on a public

platform about the sheriff’s election.            In Stough, the deputy

sheriff did not merely support the candidate by working in the

election and soliciting voters, he also spoke at public forums on

numerous occasions.       That, the Eleventh Circuit stated, was the

essence of political speech.       Stough, 967 F.2d at 1529. Therefore,

the court applied a Pickering analysis to properly scrutinize the

retaliatory action.      Id.

      Unlike the plaintiff in Stough, the plaintiff did not make any

public speeches or engaged in any expression that amounts to more

than bare statements of support for Shoap.          The Amended Complaint

and the record lacks any evidence that plaintiff engaged in the

very essence of political speech by speaking on a platform before

an audience.       Plaintiff attempts to circumvent this circuit’s

political patronage precedent by alleging that he walked door to

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door twice, asked one question at a debate, held a sign by the side

of   road,    and   contributed      $200,   all   in   support    of   Shoap.

(Maschmeier Dep., pp. 17-20.)         These allegations, however, amount

to nothing more than mere manifestations of political affiliation

and Pickering is therefore inapplicable.           See e.g., Cutcliffe 117

F.3d at 1358 (finding that participation in public political

activity and monetary contributions without allegations that the

expressions involved more than bare statements of support simply

convey     plaintiff’s   political    affiliation).      Finding    that   the

termination is lawful under Terry, Cutcliffe, and Silva, the Court

finds that summary judgment is appropriate as to Count I.

                                       C.

      To the extent that plaintiff includes a "free-standing" claim

based upon a violation of the Florida Constitution, the Court will

exercise its discretion under 28 U.S.C. § 1367(c) and decline to

exercise jurisdiction over that claim as there is no more basis for

federal jurisdiction.

      Accordingly, it is now

      ORDERED:

      1.     Defendant's Motion for Summary Judgment (Doc. #18) is

GRANTED as to the claims under 42 U.S.C. § 1983.

      2.     In the exercise of its discretion under 28 U.S.C. §

1367(c), the Court declines to exercise jurisdiction over the




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Florida Constitutional claim and this portion of the case will be

dismissed without prejudice.

      3.    Defendant’s    Unopposed    Motion   to   Strike   Partington’s

Affidavit (Doc. #34) is GRANTED.

      4.   The Clerk shall enter judgment accordingly, terminate all

deadlines, including the Final Pretrial Conference scheduled for

August 20, 2007, and close the file.

      DONE AND ORDERED at Fort Myers, Florida, this            28th   day of

June, 2007.




Copies:
Counsel of record




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